                 Case 2:01-cr-00237-WDK Document 169 Filed 09/16/09 Page 1 of 1 Page ID #:56



                                                UNITED STATES PROBAnON OFFICE
                                                CENTRAL DISTRICT OF CALIFORNIA




       TO'        UNUED STATES MARSHAL AND ANY AUTHORIZED UNITED STATESOFFICER

       YOU ARE HEREBY COMMANDEDto arrest GREGORYALAN FOSTER
       andbringhim/herforthwithto thenearestMagistrat~dg-:;;:;;;;;;;; to a(n):                        0 C~mplaint   Dndictment
       D~o~tion             ~OrderOfCourt              ~ViolationPetition         ARRES,reovmM~IHE    C/CA
       charging him/her WIth: (ENTER
                                   ~SCRtPOON
                                          OFOFFENSE
                                                 ELOW)                            BY:U" M I - LA., CA

                                                                                  ON:
       in violation of Title 18                 ,f;
                                             ,. ...,
                                                        UnitedStatesCode,ScSlGN              [f)1
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           Tern Nafisi
       ~     c.' ~    0FFIC2R
           Clerk of Court
       TmEc.' I8a-.G ~
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                                                                  RETURN
      THISWARRANTWASRECEIVED
                           Nm EXECUTED
                                     Wint 1}£ ~           OF 1}£ ~~         DEFeoHr   AT (lOCATo.):




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      M1E f»' ~                                                               TITlE



      DUCRPTIYE ~ORMAT1ON   FOR DEFEJC)ANT
      CONT A8ED ON PAGE ~                                                     ~1tR       c.: ~.~




                                                         WARRANT FOR ARREST
CR.-12 (07/04)
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